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      10
      11
      12                                      UNITED STATES DISTRICT COURT
                                            NORTHERN DISTRICT OF CALIFORNIA
      13
      14
               R. A. FEUER, derivatively on behalf of WELLS         Case No. 4:18-cv-02866-JST
      15       FARGO & COMPANY,
                                                  Plaintiff,        PLAINTIFF’S REPLY IN SUPPORT OF
      16                                                            JOINT MOTION TO DISMISS THE
                               v.                                   AMENDED COMPLAINT ON THE
      17                                                            GROUNDS OF RES JUDICATA AND
               JOHN D. BAKER, II, et al.                            OPPOSITION TO MOTION FOR
      18                                        Defendants,
                                                                    DISGORGEMENT
      19                       - and -
               WELLS FARGO & COMPANY,                              Judge: Hon. Jon S. Tigar
      20                                                           Hearing Date: April 1, 2021
                                         Nominal Defendant.        Hearing Time: 2:00 p.m.
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 SULLIVAN &
                                                                                      REPLY ISO JOINT M OTION TO DISMISS
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         1                    Plaintiff R.A. Feuer (“Plaintiff” or “Mr. Feuer”) respectfully submits this Reply in further
         2     support of the Joint Motion of Plaintiff and Nominal defendant Wells Fargo & Co. (“Wells Fargo” or
         3
               “the Company”) to Dismiss the Amended Complaint on the Grounds of Res Judicata (ECF No. 137) and
         4
               in opposition to the Response and Motion for Disgorgement lodged by non-party The Fire & Police
         5
               Pension Association of Colorado and The City of Birmingham Retirement and Relief System (the “Sales
         6
         7     Practices Plaintiffs”). (ECF No. 140).

         8                                                 INTRODUCTION

         9                    Without standing to do so, the Sales Practices Plaintiffs have launched a spurious, ad
      10       hominem, attack on the integrity and motives of Plaintiff and his counsel, as well as Wells Fargo, in
      11
               agreeing to resolve, inter alia, Plaintiff’s appeal and objections (which he aggressively litigated for over
      12
               a year) in In re Wells Fargo & Co. Auto Insurance Derivative Litig., No. CGC17-561118 (S.F. Super)
      13
               (the “State CPI Action”) and thereafter seek dismissal of this action on res judicata grounds. The Sales
      14
      15       Practices Plaintiffs’ response is procedurally improper, factually inaccurate, legally baseless, and itself

      16       constitutes potentially sanctionable conduct. 1 Because the response is procedurally improper the Court

      17
      18
               1 Sales Practices Plaintiffs’ motion is peppered with ad hominem attacks on Plaintiff and his counsel that
      19       lack evidentiary support and are wholly without merit. (ECF No. 140 at: 4 (“extortionate ‘settlement’”);
               at 5 (“objector backmail”; “game the system”; “sham settlement”); at 9 (“extortionate payoff”); at 11
      20       (“clear attempt to evade judicial scrutiny; “misconduct”); at 12 (“ill-gotten gains”; “extortion”; “abusing
               the terms of the settlement); at 14-15 (“violated their … fiduciary duty and acted for an improper
      21       purpose”); at 16 (“abuse of judicial process”). When, as here, allegations are based on nothing but
               speculation and conjecture, Fed.R.Civ.P 11 is implicated. Rule 11 provides that [by] presenting to the
      22       court a pleading, written motion or other paper, an attorney certifies that “to the best of the p erson’s
               knowledge, information, and belief, formed after an inquiry reasonable under the circumstances” … (3)
      23       the factual contentions have evidentiary support.” (emphasis added). 28 U.S.C. §1927 provides that
               any attorney “who so multiplies the proceedings in any case unreasonably and vexatiously may be
      24       required by the court to satisfy personally the excess costs, expenses and attorneys’ fees reasonably
               incurred because of such conduct.” Finally, under its inherent powers, a court may impose sanctions in
      25       the form of attorneys’ fees when the losing party has acted “in bad faith, v exatiously, wantonly, or for
               oppressive reasons.” Primus Auto Fin. Servs., Inc. v. Batarse, 115 F. 3d 644, 648 (9 th Cir. 1997)
      26       (quoting Alyeska Pipeline Serv. Co. v. Wilderness Soc’y, 421 U.S. 240, 258-59 (1975)). See also Fink v.
               Gomez, 239 F. 3d 989, 994 (9 th Cir. 2001) (“[A]n attorney’s reckless misstatements of law and fact,
      27       when coupled with an improper purpose, … are sanctionable under a court’s inherent power.”). Plaintiff
               reserves all rights to seek sanctions against the Sales Practices Plaintiffs and their counsel related to their
      28       baseless motion.

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         1     should decline to consider it. If the Court decides to entertain it on the merits, the requested relief
         2     should be denied.
         3
                                      PERTINENT PROCEDURAL HISTORY
         4
                              Plaintiff’s Pursuit of CPI-related Claims in this Action
         5
                              As set forth in detail in the Joint Motion to Dismiss (ECF No. 137 at 9-13), Plaintiff has
         6
         7     been involved in pursuing claims derivatively on behalf of nominal Defendant Wells Fargo since prior

         8     to December 12, 2016, when he made his initial demand on the Company’s Board of Directors. See

         9     Exhibit A to Declaration of Richard D. Greenfield (“Greenfield Decl.”) filed concurrently herewith. This
      10       initial demand was followed by ongoing written and oral communications with counsel for members of
      11
               Wells Fargo’s Board of Directors with respect to the substance of the demands, the manner in which
      12
               they were addressed and otherwise. Thereafter, Plaintiff’s counsel transmitted additional demands to the
      13
               Board on October 30, 2017 (Greenfield Decl., Exh. B), leading to the filing of his initial complaint on
      14
      15       May 16, 2018. (ECF No. 1) after his pre-suit demands were rejected. An operative amended complaint

      16       was filed on June 20, 2018 (ECF No. 19).

      17                      On September 7, 2018, Wells Fargo moved the dismiss the amended complaint for failure
      18
               to adequately plead wrongful demand refusal (ECF No. 54), and Plaintiff filed an extensive opposition
      19
               to the motion to dismiss on October 8, 2018. (ECF No. 61). Oral argument was heard on March 7, 2019,
      20
               and a decision remained pending when the Court administratively terminated the motion pending a
      21
               ruling by the California Superior Court on the State CPI Action settlement. (ECF No. 119).
      22
      23                      Plaintiff’s Intervention and Objections in the State CPI Action

      24                      In early 2019, the parties in the State CPI Action reached a settlement agreement, and, on
      25       March 5, 2019, two days before the hearing on defendants’ motion to dismiss was argued in this Action,
      26
               Wells Fargo notified this Court of the State CPI Action settlement and indicated it would seek dismissal
      27
               of this Action on res judicata grounds upon final approval of the State CPI Action settlement. (ECF No.
      28
               86). On May 1, 2019, Feuer moved to intervene in the State CPI Action for the purpose of objecting to
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         1     settlement approval. See Greenfield Decl., Exhibit C. The state court subsequently denied preliminary
         2     approval and Plaintiff’s motion to intervene without prejudice to a renewed request. 2 On June 21, 2019,
         3
               the State CPI plaintiffs sought preliminary approval of a revised settlement. On June 27, 2019, Mr.
         4
               Feuer filed an Amicus Curiae brief in opposition to the renewed motion for preliminary approval of the
         5
               revised State Action CPI settlement. See Greenfield Decl., Exh. D.
         6
         7                      On July 12, 2019, the Superior Court granted preliminary approval over Mr. Feuer’s

         8     objections. Order Preliminarily Approving Derivative Settlement, State CPI Action (July 12, 2019).

         9     Mr. Feuer then filed a renewed motion to intervene for purposes of objecting to the proposed settlement,
      10       which was granted. Order Re: Prospective Intervenor’s Renewed Motion to Intervene, State CPI Action
      11
               (September 16, 2019). On September 17, 2019, Mr. Feuer filed extensive objections to the request for
      12
               final approval of the proposed settlement, as well as the request for attorneys’ fees submitted by
      13
               Plaintiffs’ counsel. See Greenfield Decl., Exh. E. On October 4, 2019, Mr. Feuer filed a Sur-Reply
      14
      15       Memorandum of Points and Authorities in further support of his objections to the proposed settlement.

      16       See Greenfield Decl., Exh. F. The California Superior Court finally approved the State CPI Action

      17       settlement on January 15, 2020, over Mr. Feuer’s objections, and, after giving due consideration to his
      18
               objections, reduced the attorneys’ fees sought by plaintiffs’ counsel from $5 million to $2,298,077.25, a
      19
               reduction of more than $2.7 million. See ECF No. 137-1, Ex. B). On March 11, 2020, Mr. Feuer
      20
               noticed his appeal.
      21
                                Thus, Mr. Feuer and his counsel invested substantial time and effort in opposing both
      22
      23       preliminary and final approval of the State CPI Action settlement, appearing multiple times throughout

      24       this period in the State CPI Action, both orally and in extensive written submissions, with the objective
      25       of either preventing the State Action CPI settlement from becoming final or, at a minimum, seeking
      26
               changes to it.
      27
               2 Order re: Pls.’ Mot. for Preliminary Approval of Proposed Derivative Settlement, State CPI Action
      28
               (May 23, 2019); Order Denying Without Prejudice Prospective Intervenor’s Mot. to Intervene, State CPI
               Action (June 10, 2019).
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         1                                                   ARGUMENT
         2                    I.      The Sales Practices Plaintiffs Lack Standing To “Respond” to the Parties’
                                      Joint Motion to Dismiss or Seek Disgorgement
         3
                             Without first seeking to intervene, non-party Sales Practices Plaintiffs filed a “response”
         4
         5     to the joint motion to dismiss of Plaintiff and Wells Fargo. As part of their response, Sales Practices

         6     Plaintiffs ask this Court to impose sanctions on Plaintiff’s counsel in the form of disgorgement of the
         7     $1.5 million paid by Wells Fargo to such counsel and their predecessors in connection with the
         8
               settlement and resolution of Plaintiff’s appeal and objections filed and litigated in the State CPI Action.
         9
               (ECF No. 140). The Sales Practices Plaintiffs do not address the issue of their standing to make such a
      10
               motion, stating only that their response is submitted “in their capacity as Wells Fargo shareholders and
      11
      12       Court-appointed co-lead plaintiffs in the ‘related’ action, In re Wells Fargo & Co. Shareholder

      13       Derivative Litigation, No. 4:16-cv-05541-JST (N.D. Cal.) (the “Sales Practices Action”).” (ECF No. 140

      14       at 4).
      15                      The Sales Practices Plaintiffs are not parties in this action. It is well settled under Ninth
      16
               Circuit law that District Courts “properly refuse[ ]” to consider any ‘motion [that is] filed by a
      17
               nonparty.” United States EEOC v. JCFB, Inc., 2019 U.S. Dist. LEXIS 137628, *1, quoting Citibank
      18
               Int’l v. Collier-Traino, Inc., 809 F. 2d 1438, 1440 (9 th Cir. 1987). If a party has not moved to intervene,
      19
      20       the court should not entertain its arguments. Greenbaum v. Islamic Republic of Iran, 782 F. Supp. 2d

      21       893, 897, f.n.3 (C.D. Cal. 2008).
      22                      The Sales Practices Plaintiffs’ allegation that this Action is “related” to the Sales
      23
               Practices Action is misleading and, in any event, insufficient to confer standing. This Action and the
      24
               Sales Practices Action were litigated separately and never consolidated. Indeed, although this Action
      25
               alleges certain background information referencing the sales practices at issue in the Sales Practices
      26
               Action and Plaintiff’s pre-suit demands relating thereto, at the insistence of counsel for the Sales
      27
      28       Practices Plaintiffs, a Stipulation and Order was entered in this Action on September 7, 2018, pursuant

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         1     to which it was agreed (and so Ordered by this Court), that Plaintiff would not seek or assert any claims
         2     for relief involving the unauthorized sales practices at issue in the Sales Practices Action in this Action.
         3
               (ECF No. 52).
         4
                               The fact that both actions involve categories of alleged wrongdoing by Wells Fargo (that
         5
               Sales Practices Plaintiffs insisted be handled separately) and that the Sales Practices Plaintiffs were
         6
         7     appointed as co-lead plaintiffs in the Sales Practices Action is patently insufficient to confer standing on

         8     them to participate in this Action. No procedure has been established by this Court for Wells Fargo

         9     shareholders to appear and be heard in this Court regarding a settlement that occurred between Plaintiff
      10       and Wells Fargo in the State CPI Action. The Sales Practices Plaintiffs have neither sought to intervene
      11
               nor been granted leave to intervene and their response and motion are procedurally improper.
      12
                               II.    Rule 23.1 Is Not Implicated by the Parties’ Joint Motion to Dismiss
      13
                               Wells Fargo and Plaintiff seek dismissal of this action based on the res judicata effect of
      14
               a final judgment entered by the California Superior Court in the State CPI Action. This outcome has
      15
      16       been anticipated since early 2019, when a settlement agreement was first reached in the State CPI

      17       Action. The fact that judgment in the State CPI Action became final following the settlement of Mr.
      18       Feuer’s appeal of the Superior Court’s final approval of the settlement (as opposed to becoming final
      19
               absent his objections) does not magically transform the resolution of his appeal and objections there into
      20
               a “settlement” of this Action. Despite the Sales Practices Plaintiffs’ inflammatory and false rhetoric, this
      21
               Action is not being “settled, voluntarily dismissed, or compromised.” Rather, this Action has been
      22
      23       rendered moot by principles of res judicata, a result that was contemplated and well known by all parties

      24       and communicated clearly to this Court well before Plaintiff objected to the settlement of the State CPI

      25       Action or filed an appeal. The factual record before this Court lays bare the baseless nature of the Sales
      26       Practices Plaintiffs’ accusations of subterfuge and bad faith.
      27
                               All elements necessary for this Action to be dismissed on res judicata grounds are
      28

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         1     present. (ECF No. 137, pp. 13-18). The Sales Practices Plaintiffs expressly recognize this fact. (ECF
         2     No. 140, p. 4). Nevertheless, they allege that because the settlement agreement between Plaintiff and
         3
               Wells Fargo provides for dismissal of this Action, res judicata arises not from well-established legal
         4
               principles, but rather from the settlement agreement itself. (ECF No. 140, p. 9). The Sales Practices
         5
               Plaintiffs assert, falsely, that the recognition of the res judicata effect of their settlement is part of a
         6
         7     nefarious scheme to avoid judicial scrutiny. (ECF No. 140 at 10-11). The Sales Practices Plaintiffs’

         8     inflammatory allegations are patently false.

         9                     As early as January 27, 2019, shortly after an agreement in principle to settle the State
      10       CPI Action was first reached, Plaintiff’s former principal counsel of record, Mr. Greenfield, wrote to
      11
               this Court and advised it of the existence of the proposed settlement and his concerns related thereto,
      12
               including concerns related to the potential usurpation of this Court’s jurisdiction over the claims asserted
      13
               in this case. (ECF No. 74). Mr. Greenfield actively sought this Court’s involvement in any settlement
      14
      15       of the CPI-related claims, stating “[t]his Court has jurisdiction over the parties and their counsel in this

      16       case and has the authority to obtain information regarding the proposed settlement promptly … In this

      17       way, Your Honor can evaluate the remedies potentially available to the Court to protect its jurisdiction
      18
               and maintain the integrity of the proceedings before it.” (ECF No. 74, pp. 2 -3). Plaintiff’s former
      19
               counsel of record actively invited this Court to provide a “framework for addressing what may turn out
      20
               to be multi-jurisdictional (i.e. in this Court and the state court) objection litigation.” (Id. at 3).
      21
                               In response, this Court noted that all parties recognized, even at this early date, that the
      22
      23       settlement of the State CPI Action “will extinguish the claims of [Plaintiff] in this [case].” (ECF No. 76,

      24       p. 1).3 In granting a continuance related to oral argument on Wells Fargo’s then-pending motion to
      25       dismiss, this Court directed that any objection or proceedings related to the settlement of the State CPI
      26
      27
               3   Thereafter, on many occasions before the settlement related to Plaintiff’s appeal was reached, the
               parties repeatedly advised this Court of the fact that by its terms (and not by any “agreement” between
      28       Plaintiff and Wells Fargo), the State CPI Action settlement would release all of the claims asserted by
               Plaintiff on behalf of Wells Fargo in this Action. See, e.g., ECF No 86; ECF No. 96, p. 2.
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         1     Action be dealt with there, not in this Court. (ECF No. 76, p. 2; “And more importantly, this Court is
         2     not the appropriate place to express objections regarding a settlement pending elsewhere. The
         3
               appropriate place is the court where the settlement is pending.”). Heeding this Court’s directive,
         4
               Plaintiff filed and actively litigated extensive objections to the settlement of the CPI-related claims
         5
               asserted both in this Action and in the State CPI Action in the California Superior Court. See, supra, pp.
         6
         7     3-4 and Greenfield Decl. Exhs. C-F.

         8                    The settlement agreement acknowledges Plaintiff’s counsel’s role in reviewing and

         9     proposing revisions to the notice to shareholders in the State CPI Action settlement, clarifying the terms
      10       of the settlement, the claims and parties to be released and the related cases that would be affected by it,
      11
               as well as a $2.7 million reduction in attorneys’ fees awarded to plaintiffs’ counsel. (ECF No. 137 at
      12
               11-12). Nevertheless, Plaintiff determined to appeal the final approval of the State CPI settlement, a
      13
               decision that was made well before any discussions with Wells Fargo relating to possible resolution of
      14
      15       that appeal. See Greenfield Decl. at ¶8. The factual record does not support the Sales Practices

      16       Plaintiffs’ allegations of alleged wrongdoing.

      17                      In keeping with this Court’s prior directive, and in recognition of principles and judicial
      18
               comity and efficiency, any purported concerns the Sales Practices Plaintiffs have about the settlement
      19
               between Plaintiff and Wells Fargo should have been addressed by the state court, not this Court. Indeed,
      20
               counsel for the Sales Practices Plaintiffs was present at several of the Superior Court hearings on the
      21
               proposed settlement. That Court is familiar with the facts and circumstances surrounding both the terms
      22
      23       of the CPI settlement, Plaintiff’s objections thereto and participation therein, and the changes and

      24       iterations to the settlement that occurred following Plaintiff’s objections, made both orally at hearings
      25       before the Court and in documents submitted to it. The Superior Court, not this Court, was best
      26
               positioned to respond to any allegations about the propriety of the settlement agreement between
      27
               Plaintiff and Wells Fargo. The Sales Practices Plaintiffs chose to remain silent and did not object to the
      28
               settlement between Mr. Feuer and Wells Fargo, including the payment to Plaintiff’s counsel. This
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         1     Action should be dismissed based on res judicata, a legal result Wells Fargo made clear it would seek
         2     all along upon final judgment in the State CPI Action, regardless of, not because of, any agreement with
         3
               Plaintiff to resolve his state court appeal. (ECF No. 137, p. 18). Plaintiff was not “paid $1.5 million for
         4
               dismissal of his derivative claims” in this Action. (ECF 140, p. 10). He was paid $1.5 million for the
         5
               resolution of his appeal relating to, inter alia, his objections asserted and litigated in the State CPI
         6
         7     Action. The settlement agreement between Plaintiff and Wells Fargo is not a settlement, compromise or

         8     voluntary dismissal of this Action. 4

         9                    III.    Plaintiff Has Sought, Not Avoided, Judicial Scrutiny
      10                      Sales Practices Plaintiffs allege that Plaintiff and Wells Fargo conspired to deliberately
      11
               structure the terms of their agreement to avoid judicial scrutiny by both this Court and the California
      12
               Superior Court. (ECF No.140, pp. 10-11). The factual record exposes this argument for the sham
      13
               assertion that it is. In fact, exactly the opposite transpired as both Plaintiff and Wells Fargo sought
      14
               complete transparency vis-à-vis the settlement before both the Superior Court and this Court.
      15
      16                      First, the initial settlement agreement itself, by its own express terms, provided for review

      17       and approval by the Superior Court. (ECF No. 137-3, Ex. F). Based on the fact that Plaintiff’s appeal
      18       related to objections asserted in the State CPI Action, as well as this Court previous directive that all
      19
               objections to the CPI settlement be dealt with in state court, there was no reason that the parties would
      20
               also provide their settlement agreement to this Court. The provision in the initial settlement agreement
      21
               providing for state court review and approval was agreed to by Wells Fargo at Plaintiff’s request in an
      22
      23       effort to ensure complete transparency and to avoid any issues that might arise as to whether the

      24       settlement required court approval. Greenfield Decl., ¶9; ECF No. 137 at 18 (“Wells Fargo agreed to

      25
               4 The Tentative Ruling (TR) issued by Judge Cheng is not to the contrary.    As discussed infra, pp. 9-11,
      26
               Plaintiff’s motion for preliminary approval was an attempt to provide full transparency with respect to
      27       the settlement and dismissal of his appeal, not an admission that the agreement constitutes a settlement
               of a derivative action requiring notice and court approval. Judge Cheng made no such finding. The
      28       Sales Practices Plaintiffs’ extensive reliance upon Judge Cheng’s TR, taken wholly out of context,
               underscores the conclusion that any issues regarding the settlement agreement should have been raised,
               if at all, in state court.
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         1     Feuer’s seeking court review not because such review was required under state law … but rather
         2     because Wells Fargo believed it would be prudent to make the settlement public to avoid any questions
         3
               about transparency.”). 5
         4
                               In accordance with the terms of the initial settlement agreement, on September 10, 2020,
         5
               Plaintiff filed a Motion for Order Preliminarily Approving Settlement for Withdrawal of Objections and
         6
         7     Appeal in the State CPI Action (the “Motion for Preliminary Approval”). In addition, and again in an

         8     effort to ensure complete transparency, the Motion for Preliminary Approval was also provided to this

         9     Court on September 15, 2020. (ECF No. 132). The Motion for Preliminary Approval fully informed
      10       this Court as to the terms of the settlement agreement between Plaintiff and Wells Fargo and the reasons
      11
               for it. (Id. at 16-18).
      12
                               On October 5, 2020, the Superior Court (Judge Cheng) issued a TR on the Motion for
      13
               Preliminary Approval, questioning whether the agreement was a settlement of a shareholder derivative
      14
      15       action requiring court approval – be it by the Superior Court or this Court. 6 Plaintiff (with Wells

      16       Fargo’s consent) had sought the Superior Court’s approval so as to ensure complete transparency and

      17       not, as the Sales Practices Plaintiffs’ contend, because of a “tacit admission” that the agreement was the
      18
               settlement of a derivative action requiring court approval. (ECF No. 135, Ex. B). With the goal of
      19
               transparency having been achieved, and after Judge Cheng indicated his tentative view (a view shared
      20
               by Plaintiff and Wells Fargo) that the agreement was not the settlement of any active derivative claims
      21
               not previously settled, on December 15, 2020, Plaintiff and Wells Fargo entered into a revised
      22
      23       Stipulation of Settlement (the “Revised Settlement”) which did not provide for court approval.

      24
               5 No doubt had the initial settlement not provided for court review the Sales Practices Plaintiffs would
      25       be pointing to that as evidence of attempted blackmail and extortion. It is the Sales Practices Plaintiffs,
               not Plaintiff, whose approach has been “heads I win, tails you lose.”
      26       6      Judge Cheng did not, as Sales Practices Plaintiffs allege, determine that “the agreement sh ould
      27       have been submitted for approval in this action.” (ECF No. 140, at 4) (emphasis in original). To the
               contrary, Judge Cheng indicated he was “unconvinced” that Plaintiff’s objections and appeal were “a
      28       shareholder derivative action with active claims that were not previously settled.” TR p. 3, line 12.
               Therefore, he reasoned that “without any active claims that were not previously settled, is the Court
               deprived of jurisdiction to ‘preliminarily approve’ this …settlement?” Id., line 14-15.
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         1                    The Sales Practices Plaintiffs’ assert that the settlement agreement should have been
         2     submitted to this Court for approval, arguing that such a result was implicated by Judge Cheng’s TR and
         3
               that there was a deliberate scheme to seek “no judicial scrutiny whatsoever.” (ECF No. 140, pp. 10-11)
         4
               (emphasis in original). This bad faith assertion is flatly contradicted by the fact that on January 19,
         5
               2021, the parties submitted the Revised Settlement to this Court, along with a copy of Judge Cheng’s
         6
         7     TR, the letter to Judge Cheng from Plaintiff’s counsel withdrawing the Motion for Preliminary

         8     Approval, and an explanation that the parties would jointly move to dismiss this action on res judicata

         9     grounds rather than seeking court approval. (ECF No. 134 and Exhibits A-D thereto). At every step of
      10       the way Plaintiff and Wells Fargo have sought complete transparency.
      11
                             IV.      There Is No Factual or Legal Basis for this Court to Order Sanctions
      12                              Or Disgorgement

      13                      Without establishing standing, let alone any factual or legal basis, Sales Practices

      14       Plaintiffs assert that Plaintiff has “extorted” $1.5 million from Wells Fargo, which sums constitute “ill-
      15       gotten gains”, by pressuring the Bank and “leveraging” his appeal, “the pendency of which prevented
      16
               the finality of the $240 million settlement in the Sales Practices Action .” (ECF No. 140, pp. 11-13).
      17
               However, the terms of the Revised Settlement establish that this is untrue. The Stipulation of Settlement
      18
               reflects that Wells Fargo, represented by competent counsel, believed the settlement to be in its best
      19
      20       interests and wished to promptly resolve Plaintiff’s appeal to allow res judicata effect to be accorded

      21       with respect to this Action and the State CPI Action (ECF No. 134-3 at 6). Further, Wells Fargo
      22       acknowledges that the payment to Plaintiff’s counsel “reflects a portion of the savings achieved by
      23
               Wells Fargo in the form of the reduction in fees awarded to plaintiffs’ counsel in the State CPI Action
      24
               “(Id.). It is Wells Fargo, as the allegedly aggrieved party, not Sales Practices Plaintiffs, who would be
      25
               in a position to know whether there was “extortion”, “blackmail,” bad faith or anything other than what
      26
               occurred - good faith, arms-length settlement negotiations between competent counsel. In fact, it was
      27
      28       the Bank’s counsel who approached Plaintiff’s counsel and initiated the discussions that ultimately led

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         1     to the settlement agreement and resolution of Plaintiff’s appeal. Greenfield Decl., ¶8. As confirmed by
         2     Wells Fargo’s counsel, there was no “extortion”, “blackmail” or “pressuring” by Plaintiff’s counsel. See
         3
               Wells Fargo & Company’s Reply in Support of Joint Motion to Dismiss the Amended Complaint on the
         4
               Grounds of Res Judicata and Opposition to Motion for Disgorgement, pp. 4-6.
         5
                              Sales Practices Plaintiffs accuse Plaintiff and his counsel of acting in bad faith and
         6
         7     violating their duty to serve the Bank’s and its shareholders’ interests by “abusing the terms o f the

         8     settlements of the Sales Practices Action and the State CPI Action to extract a payoff from Wells

         9     Fargo.” (ECF No. 140, pp. 12-15).7 This assertion is particularly troubling in light of the fact that
      10       Plaintiff (1) had no control over the terms of either of these settlements and, (2) consistently objected to
      11
               these very terms, asserting that the finality of these two unrelated settlements should not be contingent
      12
               on each other. Objection of R.A. Feuer, State CPI Action, filed Sept. 17, 2019. (Greenfield Decl., Exh.
      13
               E, pp. 23-28). Had Plaintiff intended to “abuse” and “leverage” these terms for his own personal gain,
      14
      15       why would he have consistently drawn attention to them as improper and objectionable? Plaintiff did

      16       not negotiate or agree to these terms – the Sales Practices Plaintiffs and their counsel, among others,

      17       did. To the extent these terms provided an incentive for Wells Fargo to resolve Plaintiff’s objections
      18
               and appeal in the State CPI Action, that incentive was created by the Sales Practices Plaintiffs
      19
               themselves and their counsel (among others), not Plaintiff or his counsel.
      20
                              The facts of this case do not remotely support a finding of bad faith or application of the
      21
               equitable remedy of disgorgement. The cases relied upon by the Sales Practices Plaintiffs involve so-
      22
      23       called “professional objectors” who appear for the first time after a settlement is reached.8 Here,

      24
      25       7 The CPI State Action settlement and Sales Practices Action settlements were contingent on the

      26       “resolution” of each other and this action. See Sales Practices Action, ECF No. 270-1, ¶41(c)
               (conditioning settlement on ‘[t]he contemporaneous (but unconnected) resolution of the State CPI
      27       Action and the Feuer CPI Action.”
               8 Sales Practices Plaintiffs cite Barnes v. FleetBoston Fin. Corp., 2006 U.S. Dist. LEXIS 71072, 2006
      28       WL 6916834 (D. Mass. Aug. 22, 2006). There, however, the Court found that appellants were
               “professional objectors” who make a living simply by filing frivolous appeals. Despite the many ad
               hominem attacks made by Sales Practices Plaintiffs, they do not, and cannot, allege that Plaintiff is a
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         1     Plaintiff had been actively pursuing claims derivatively on behalf of Wells Fargo since 2016 and in
         2     litigation since May 16, 2018 when his initial shareholder derivative complaint was filed. (ECF No. 1).
         3
                              Further, as a result, at least in part, of Plaintiff’s intervention and objections, as Wells
         4
               Fargo acknowledges, additional concrete benefits were obtained for Wells Fargo’s shareholders.9 These
         5
               include, inter alia, proposed revisions submitted by Plaintiff’s counsel to the proposed settlement notice
         6
         7     to shareholders, including clarification of (a) the claims and parties to be released, (b) the terms of the

         8     settlement; and (c) the related cases that would be affected by the settlement. Several of Plaintiff’s

         9     proposed revisions were incorporated by the Parties in a revised settlement notice. (ECF No. 134-3 at 3).
      10       In addition, Plaintiff objected to the $5 million in counsel fees sought by plaintiffs’ counsel and, after
      11
               giving due consideration to the Objections, the Superior Court awarded $2,298,077.25 in fees and
      12
               expenses, a reduction of $2.7 million.
      13
                              This Court recently denied a motion for sanctions and disgorgement against an objector
      14
      15       who obtained a $1.75 million settlement from Wells Fargo in exchange for dismissal of a state court

      16       appeal that likewise prevented finality and Wells Fargo’s recovery of its $240 million in the Sales

      17       Practices Action – the precise scenario presented here. In denying disgorgement this Court stated:
      18
                              “[The Court is not convinced that, even if there was bad faith here,
      19                      disgorgement of a settlement payment reached by two sophisticated,
                              represented parties in a separate lawsuit would be an appropriate or even
      20                      permissible remedy.” (Sales Practices Action, ECF No. 355 at 9).

      21                      Sales Practices Plaintiffs rely heavily on the Seventh Circuit’s decision in Pearson as

      22       providing the necessary authority for this Court to order disgorgement. (ECF No. 140 at 14-15).

      23
      24
      25       “professional objector.” Indeed, any such allegations would be facially ludicrous in light of his pursuit
               of Wells Fargo shareholder claims since 2016.
      26
               9 As recognized in Pearson v. Target Corp., 968 F. 3d 827, 838 (7 th Cir. 2020) (“Pearson”) good faith
      27       objectors such as Plaintiff provide “genuine adversary representation” in connection with a court’s
               evaluation of proposed class or derivative settlements. That is precisely the function that Plaintiff
      28       provided here.

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         1     However, as previously recognized by this Court, there is a critical distinction between the Pearson case
         2     and the scenario presented here:
         3
                              [T]he payments made in Pearson were made for the withdrawal of
         4                    objections in that case, while the payment at issue here was made for the
                              withdrawal of an objection in the state case – a case that is pending before
         5                    another court. While Pearson is persuasive authority that a district court
                              may order disgorgement of side payments received in a case pending
         6                    before it, Co-Lead Plaintiffs have not cited any authority that would allow
                              this Court to Order disgorgement of monies received in a case pending
         7                    before another court.” Indeed, to the extent Pearson addresses the
                              question at all, it supports not ordering disgorgement. The Pearson court
         8                    noted that if Nunez had taken a payment to settle his separate California
                              case, he could have “avoid[ed] … scrutiny,” id. at 835, suggesting that in
         9                    that instance the court would not have ordered disgorgement.”

      10       Sales Practices Action, ECF No. 355 at 11 (emphasis in original). 10

      11                      Sales Practices Plaintiffs attempt to distinguish this Court’s recent decision in the Sales

      12       Practices Action by asserting that Plaintiff’s “agreement with the Bank necessarily entails settlement or

      13       voluntary dismissal of his claims in this Action, before this Court.” (ECF No. 140 at 15) (emphasis in
      14
               original). This is not correct. Plaintiff’s agreement with the Bank is for resolution of his objections and
      15
               appeal filed and litigated in the Superior Court. The Bank made clear as early as two years ago, and
      16
               well before Plaintiff’s objections in the State CPI Action were filed or appealed, that it would move to
      17
               dismiss this case on res judicata grounds upon entry of final judgment in the State CPI Action. The fact
      18
      19       that this finality came about by way of a settlement agreement resolving Plaintiff’s appeal does not

      20       transform the settlement agreement between Plaintiff and Wells Fargo into a settlement or voluntary
      21       dismissal of his claims in this Action. The claims in this Action were settled by plaintiffs in the State CPI
      22
               Action settlement, resulting in the Parties Joint Motion for dismissal on the grounds of res judicata.
      23
      24
      25
      26
               10 Further in Pearson, unlike here, the payments to objectors were not voluntarily disclosed. Rather, the
      27       payments were only revealed when another objector became suspicious when three objectors dismissed
               their appeals (without disclosing the payments). 968 F. 3d at 831. Here, Plaintiff submitted the
      28       settlement agreement to the Superior Court for approval and likewise provided it to this Court.

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         1                                                 CONCLUSION
         2                    Wells Fargo and Plaintiff, both represented by experienced counsel, reached an arms-
         3
               length agreement for resolution of Plaintiff’s appeal filed in Superior Court in connection with his
         4
               objections to the State CPI Action settlement. Plaintiff and Wells Fargo have, at all times, been
         5
               completely transparent with both the Superior Court and this Court regarding the terms of that
         6
         7     settlement agreement and its effect on this case pursuant to well-established principles of res judicata.

         8     The settlement agreement at issue is not the settlement, compromise or voluntary dismissal of either this

         9     action or the California State CPI Action and, therefore, Rule 23.1 is not implicated. The Joint Motion
      10       to Dismiss should be granted.
      11
      12       Dated: March 22, 2021                                 Respectfully Submitted,

      13                                                             CIARDI CIARDI & ASTIN

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